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    9 SCHRADER, ROBERT WILLISON and
      GREGORY ACKERSON
   10
   11                             UNITED STATES DISTRICT COURT
   12                            CENTRAL DISTRICT OF CALIFORNIA
   13
   14 SAM FARRAR, Individually and on            Case No. 2:21-cv-02072-CJC-PVC
      Behalf of All Others Similarly Situated,
   15                                            DEFENDANTS’ NOTICE OF
                  Plaintiff,                     MOTION TO DISMISS LEAD
   16                                            PLAINTIFF’S AMENDED
            v.                                   COMPLAINT FOR VIOLATION
   17                                            OF THE FEDERAL SECURITIES
      WORKHORSE GROUP, INC.,                     LAWS
   18 DUANE HUGHES, STEVE
      SCHRADER, ROBERT WILLISON                  Complaint filed: March 8, 2021
   19 and GREGORY ACKERSON,
                                                 Date: December 6, 2021
   20                     Defendants.            Time: 1:30 p.m.
                                                 Crtrm.: 9B
   21
                                                 The Hon. Cormac J. Carney
   22
   23
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        SMRH:4818-9331-5826.12                        DEFENDANTS’ MOTION TO DISMISS LEAD
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    1                            NOTICE OF MOTION AND MOTION
    2 TO PLAINTIFFS AND THEIR COUNSEL OF RECORD:
    3            PLEASE TAKE NOTICE that on December 6, 2021, at 1:30 p.m., or as soon
    4 thereafter as counsel may be heard in the above-entitled Court, located at 411 West
    5 Fourth Street, Santa Ana, California, in the courtroom of the Honorable Cormac J.
    6 Carney (Courtroom 9B), defendants Workhorse Group Inc., Duane Hughes, Steve
    7 Schrader, Robert Willison and Gregory Ackerson will and hereby do move the Court
    8 pursuant to Rules 12(b)(6) and 9(b) of the Federal Rules of Civil Procedure and the
    9 Private Securities Litigation Reform Act of 1995 (“PSLRA”), 15 U.S.C. §§ 78u-4, et
   10 seq., for an order dismissing lead plaintiff’s Amended Class Action Complaint for
   11 Violation of the Federal Securities Laws.
   12            This motion is brought on the grounds that lead plaintiff’s failure to: (1) meet
   13 the PSLRA and Rule 9(b) heightened requirements for pleading a claim for violation
   14 of Section 10(b) of the Securities Exchange Act of 1934 (the “Exchange Act”), 15
   15 U.S.C. § 78j(b), and Securities & Exchange Commission Rule 10b-5, 17 C.F.R.
   16 § 240.10b-5, promulgated thereunder, due to lead plaintiff’s failure to (a) specify
   17 actionable misstatements, (b) allege sufficient facts demonstrating the reasons defen-
   18 dants’ statements were false or misleading and (c) allege particularized facts giving
   19 rise to a strong inference that defendants’ made the allegedly false or misleading state-
   20 ments with scienter; as well as (2) plead sufficient facts supporting the element of loss
   21 causation. Lead plaintiff’s claim for violation of Section 20(a) of the Exchange Act,
   22 15 U.S.C. § 78t(a), falls with lead plaintiff’s Section 10(b) claims.
   23            This motion is made following the conference of counsel pursuant to Central
   24 District of California Local Rule 7-3, which took place on August 30, 2021 (due to
   25 counsel’s prior unavailability). This motion is based upon this Notice of Motion and
   26 Motion, the Memorandum of Points and Authorities, defendants’ Request for Judicial
   27 Notice and the pleadings and papers on file in this action, as well as such other oral
   28
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    1 and/or documentary evidence or argument as may be presented to the Court at or
    2 before the time of the hearing.
    3 Dated: September 3, 2021          SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
    4
                                        By              /s/ John P. Stigi III
    5                                                   JOHN P. STIGI III
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                                                     Attorneys for Defendants
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    1                      MEMORANDUM OF POINTS AND AUTHORITIES
    2                                  I.     INTRODUCTION
    3            Defendant Workhorse Group Inc. (“Workhorse” or the “Company”) is an Ohio-
    4 based manufacturer of electric trucks. It was among five final bidders for a contract
    5 to deliver trucks to the United States Postal Service (“USPS”). Investors in Work-
    6 horse stock pinned their hopes on the Company winning that contract. Their hopes
    7 were buoyed when, on January 25, 2021, President Biden announced his goal to
    8 replace the government’s vehicle fleet with electric vehicles assembled in the United
    9 States. The President’s announcement drove Workhorse’s stock price up further. On
   10 February 23, 2021, however, the USPS announced that it was awarding the contract
   11 to another company. Workhorse stock dropped. Investors sued.
   12            The Amended Class Action Complaint (“AC”) attempts to concoct a violation
   13 of Section 10(b) of the Securities Exchange Act of 1934 (the “Exchange Act”), 15
   14 U.S.C. § 78j(b), and Securities & Exchange Commission (“SEC”) Rule 10b-5, 17
   15 C.F.R. § 240.10b-5, promulgated thereunder, from this disappointing news. Criti-
   16 cally, Workhorse and its management never represented to investors that Workhorse
   17 was likely to win the bid. In fact, they were scrupulous in never making any comment
   18 regarding the substantive merits of the Company’s bid or the likelihood of success in
   19 landing the contract. Recognizing that he cannot state a claim based upon representa-
   20 tions touting the strength of Workhorse’s bid, lead plaintiff instead alleges that the
   21 bid itself was a fraud, a hopeless exercise known to management from the very start.
   22 This attempt to reverse-engineer a securities fraud claim by alleging what occurred
   23 later must have been known earlier is a classic case of “fraud by hindsight.”
   24            The prolix AC purports to identify dozens of alleged false or misleading state-
   25 ments during the putative class period. They fall into three main categories: (1) state-
   26 ments confirming the Company’s continued inclusion in the USPS Next Generation
   27 Delivery Vehicle (“NGDV”) bid process; (2) statements about the Company’s pro-
   28 jections as to future production goals and capabilities; and (3) statements discussing
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    1 the Company’s order backlog and plans to fulfill them. The statements, however, on
    2 the whole are not actionable. Many are mere “puffery” or aspirational statements that
    3 cannot form the basis for a securities fraud claim as a matter of law. Whether progress
    4 made by a company toward its goals was “meaningful,” whether it has “weathered
    5 the storm” of previously disclosed issues or whether it is rightfully “optimistic” about
    6 the future is not actionable. Many also are forward-looking predictions about future
    7 business operations that are protected under the safe harbor established by the Private
    8 Securities Litigation Reform Act of 1995 (“PSLRA”), 15 U.S.C. §§ 78u-4, et seq.
    9            The challenged statements also lack the particularized factual support required
   10 by the heightened pleading standards of the PSLRA to (a) sufficiently explain how
   11 and why the statements were false or misleading when made and (b) give rise to a
   12 strong inference that the makers of the statements knew or were deliberately reckless
   13 in not knowing at the time the statements were made that the statements were likely
   14 to mislead investors. The AC’s conclusory allegations of falsity and scienter as to a
   15 year’s worth of public statements about nearly every aspect of the Company’s busi-
   16 ness are based upon sources that are either generally irrelevant, unreliable based upon
   17 the facts alleged, temporally limited or temporally disconnected. In addition, the
   18 AC’s allegations of supposedly suspicious stock sales by some of the defendants —
   19 the majority immediately following the run-up of Workhorse’s stock price prompted
   20 by President Biden’s decision to tout American electronic vehicle manufacturers mere
   21 days into his presidency — do not meaningfully add to any strong inference that
   22 defendants knew the USPS bid would fail and the Company could not meet its longer
   23 term production goals during the COVID-19 pandemic.
   24            The AC fails to state a claim for a wholly separate and independent reason. An
   25 essential element of a claim under Section 10(b) and Rule 10b-5 is loss causation. To
   26 plead the requisite causal link between a plaintiff’s alleged loss and an alleged fraudu-
   27 lent statement a plaintiff must plead a “corrective disclosure” that revealed the fraud
   28 and impacted the stock price. Here, the AC alleges that the decline in Workhorse’s
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     1 stock price occurred in response to Workhorse’s failure to be selected by the USPS
     2 for the NGDV contract — a sorely disappointing business development for sure, but
     3 not any revelation of fraud.
     4            Congress enacted the PSLRA to deter securities litigation commenced reflex-
     5 ively “whenever there [was] a significant change in an issuer’s stock price, without
     6 regard to any underlying culpability of the issuer, and with only faint hope that the
     7 discovery process might lead eventually to some plausible cause of action.” In re
     8 Silicon Graphics Inc. Sec. Litig., 183 F.3d 970, 978 (9th Cir. 1999) (quoting H.R.
     9 Conf. Rep. 104-369, at 31). Private securities actions are “not to provide investors
   10 with broad insurance against market losses, but to protect them against those econo-
   11 mic losses that misrepresentations actually cause.” Dura Pharmaceuticals, Inc. v.
   12 Broudo, 544 U.S. 336, 345 (2005). This opportunistic “stock drop case” is precisely
   13 the kind of securities lawsuit Congress and Supreme Court have criticized. This Court
   14 should grant defendants’ motion to dismiss.
   15                             II.   RELEVANT ALLEGATIONS1
   16 A.          Workhorse and the USPS NGDV Project
   17             Workhorse develops and manufactures all-electric small or medium sized
   18 trucks that deliver items the relatively short distance from a warehouse or fulfillment
   19 center to the end customer. (AC ¶ 35.) In January 2015, the USPS announced its plan
   20 to embark on a competitive, multi-year acquisition process to replace approximately
   21 165,000 aging package delivery vehicles — the NGDV Project — and solicited bids.
   22 (Id. ¶ 38.) Workhorse partnered with well-established engineering company VT
   23 Hackney to design and manufacture a NGDV prototype for the USPS to test. (Id.
   24 ¶ 40.) On November 6, 2019, Workhorse acquired VT Hackney’s right to bid on the
   25 contract in its own right. (Id. ¶ 41.) As part of the bidding process, Workhorse was
   26
      1
        These allegations are taken from lead plaintiff’s AC or other public sources of infor-
   27 mation subject to judicial notice. Workhorse does not concede the accuracy of the
      allegations in the AC, but must assume their truth solely for the purposes of this
   28 motion to dismiss.
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     1 subject to a non-disclosure agreement with the USPS, which prevented the Company
     2 from sharing any non-public information regarding the contract or the bidding
     3 process. (Id. ¶ 56.) In September 2017, the Workhorse and VT Hackney team
     4 delivered six vehicles for prototype testing. (Id. ¶ 49.) On July 14, 2020, Workhorse
     5 submitted its bid proposal, and worked with the USPS regarding the particulars of its
     6 bid over the next several months. (Id. ¶¶ 53-55.)
     7            On January 25, 2021, President Biden announced his goal to replace the gov-
     8 ernment’s vehicle fleet with electric vehicles assembled in the United States. (Id.
     9 ¶ 58.) After this announcement by President Biden (not Workhorse), investor opti-
   10 mism sparked an immediate 14% jump in Workhorse’s stock price — the largest
   11 single day increase in monetary value alleged in the AC — and contributed to a con-
   12 tinued uptick in Workhorse’s stock price over the coming days. (Id. ¶¶ 58, 269.) 2
   13             On February 23, 2021, the USPS announced that it was awarding the entirety
   14 of the NGDV contract to another company, Oshkosh Defense, after which Work-
   15 horse’s stock price declined sharply. (Id. ¶¶ 64-65.) On February 24, 2021, Work-
   16 horse announced that it had requested additional information from USPS regarding
   17 its decision and intended to explore all available avenues to contest the contract
   18 award. (Id. ¶ 66.) On March 3, 2021, Workhorse met with the USPS and the USPS
   19 told Workhorse that certain aspects of its proposal were not as strong as those of the
   20 other bidders. (Id. ¶ 68.) Thereafter, Workhorse continued to dispute the govern-
   21 ment’s bid award, culminating in Workhorse’s June 16, 2021 filing of a federal claim
   22 complaint against the USPS. (Id. ¶¶ 52, 69.)
   23             The AC does not allege that defendants made any representations about the
   24 strength of Workhorse’s bid or the likelihood of it being successful. Instead the only
   25 statements alleged in the AC relate to Workhorse’s updates that it remained in the
   26
   27   The only other significant increase in stock price alleged in the AC is the steady
         2
      increase from early May to late June 2020 that lead plaintiff admits was attributable
   28 to Workhorse securing $70 million in new financing. (See AC ¶ 188.)
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     1 bidding process but could not comment substantively, believed it had the capability
     2 to perform on the contract if awarded and was hopeful for a positive outcome. (See
     3 id. ¶¶ 168, 173, 183, 198, 204, 213, 237, 251, 261, 263, 272.) The AC alleges that
     4 these comments were misleading because Workhorse “should have known” from the
     5 outset that it would not be awarded the contract due to alleged deficiencies in its pro-
     6 totype, proposal and production capabilities. (See, e.g., id. ¶ 273.)
     7 B.         Workhorse’s Production Capabilities and Production Targets
     8            In order to portray Workhorse’s innocuous comments about its participation in
     9 the USPS bid process as somehow fraudulent, the AC shifts focus to Workhorse’s
   10 alleged lack of mass production capabilities. The AC alleges that Workhorse did not
   11 and does not currently have the capacity to mass produce its trucks. (AC ¶ 94.) While
   12 this assertion is repeated ad infinitum in the AC, the only “facts” alleged in support
   13 are the allegations of unnamed former employees (referred to as confidential wit-
   14 nesses or “CWs”) and an anonymous short-selling blogger, “Fuzzy Panda.” (Id.
   15 ¶¶ 95-105.) Putting aside the facial unreliability of these sources, their allegations
   16 relate at most to mere snapshots in time (id. ¶¶ 50, 81, 99), and yet lead plaintiff relies
   17 upon them to support its speculation that from March 2020 through March 2021
   18 Workhorse management knowingly projected production targets during the COVID-
   19 19 pandemic that were unattainable. (See, e.g., id. ¶¶ 161, 246, 278.)3
   20 C.          Workhorse’s References to New and Outstanding Orders
   21             Finally, the AC alleges that vehicle orders that Workhorse announced publicly
   22 were false or misleading. (AC ¶¶ 73-89, 166, 177, 189, 192, 201, 202, 222, 230, 256,
   23
   24    3
          The AC includes allegations regarding the production capabilities of another electric
         vehicle manufacturer, Lordstown Motors Corp. (“Lordstown”), playing up that Lord-
   25    stown was founded by a former CEO of Workhorse. (See AC ¶¶ 90-93.) Beyond
         this, lead plaintiff includes no other allegations that support its reference to Lordstown
   26    as a “sister company” or support its attempt to paint Workhorse with the same brush
         as Lordstown. (See id. ¶¶ 90, 91, 94.) The mere fact that a former executive of Work-
   27    horse allegedly is involved in bad acts at another company should have no bearing as
         to whether the AC sufficiently alleges that defendants here engaged in fraudulent
   28    conduct at Workhorse.
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     1 279, 281-282.) For example, lead plaintiff alleges that the Company announced an
     2 agreement with the United Parcel Service, Inc. (“UPS”) in a May 30, 2018 Form 8-
     3 K, and that later references to the contract were misleading because UPS had a
     4 contractual right to cancel the order. (Id. ¶¶ 73, 78.) The Form 8-K, though, attached
     5 the actual contract containing the very term supposedly concealed. (Id. ¶¶ 74-75.)
     6 Lead plaintiff alleges further that UPS placed an order for electric trucks with a “U.K.-
     7 based startup Arrival.” (Id. ¶ 77.) Lead plaintiff, however, does not allege facts
     8 supporting that UPS has canceled its order with Workhorse in favor of the U.K.-based
     9 startup, or that UPS has not requested delivery of vehicles under the contract. The
   10 same holds true with the other orders referenced in the AC. (See id. ¶¶ 80-89.)4
   11                                 III.   LEGAL STANDARDS
   12 A.         Motions to Dismiss
   13            Rule 12(b)(6) of the Federal Rules of Civil Procedure authorizes dismissal of a
   14 complaint for failure to state a claim upon which relief can be granted. Fed. R. Civ.
   15 P. 12(b)(6). To survive a Rule 12(b)(6) motion, the plaintiff must plead “enough facts
   16 to state a claim to relief that is plausible on its face.” Bell Atlantic Corp. v. Twombly,
   17 550 U.S. 544, 570 (2007). When evaluating a Rule 12(b)(6) motion, the district court
   18 must accept all material allegations in the complaint as true and construe them in the
   19 light most favorable to the non-moving party. Moyo v. Gomez, 32 F.3d 1382, 1384
   20 (9th Cir. 1994). The court need not, however, accept as true “[c]onclusory allegations
   21 of law and unwarranted inferences.” In re VeriFone Sec. Litig., 11 F.3d 865, 868 (9th
   22
      4
        Apart from these three core groups of alleged misstatements, the AC alleges that
   23 Workhorse falsely stated that it obtained federal Payroll Protection Plan funds it
      planned to use for payroll, but instead used for executive compensation. (See, e.g.,
   24 AC ¶¶ 185, 186.) The CW upon whom this allegation is based was terminated (as a
      result of his embezzlement of Company funds) in June 2020, and is specifically
   25 alleged not to have knowledge regarding Workhorse’s payroll or accounting practices
      (id. ¶¶ 96, 98); thus, there is an insufficient factual basis under the PSLRA for the
   26 AC’s allegation that PPP funds were not used for payroll. In any event, this is a red
      herring. Cash is fungible and the CW does not and cannot allege that Workhorse’s
   27 payroll expenditure was not equal to or greater than the amount of its PPP loan (the
      PPP program does not require segregation or tracing of funds). Lead plaintiff also
   28 alleges no corrective disclosure relating to any alleged PPP program misstatement.
                                                 -6-
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     1 Cir. 1993) (citations omitted). The court is not bound by a complaint’s legal conclu-
     2 sions, deductions and opinions couched as facts. See Bell Atlantic, 550 U.S. at 545
     3 (“[A] plaintiff’s obligation to provide the ‘grounds’ of his ‘entitle[ment] to relief’
     4 requires more than labels and conclusions, and a formulaic recitation of the elements
     5 of a cause of action will not do”).5
     6 B.         Elements of Lead Plaintiff’s Claims
     7            Section 10(b) of the Exchange Act makes it unlawful “for any person . . . [t]o
     8 use or employ, in connection with the purchase or sale of any security . . . any mani-
     9 pulative or deceptive device or contrivance in contravention of such rules and regu-
   10 lations as the Commission may prescribe.” 15 U.S.C. § 78j(b). Rule 10b-5 in turn
   11 provides that:
   12             It shall be unlawful for any person . . .
   13                 (a) To employ any device, scheme, or artifice to defraud,
   14                 (b) To make any untrue statement of a material fact or to omit to state
                  a material fact necessary in order to make the statements made, in light
   15             of the circumstances under which they were made, not misleading, or
   16                (c) To engage in any act, practice, or course of business which
                  operates or would operate as a fraud or deceit upon any person, in
   17             connection with the purchase or sale of any security.
   18 17 C.F.R. § 240.10b-5. Section 10(b) and Rule 10b-5 create a private right of action
   19 “which resembles, but is not identical to, common-law tort actions for deceit and mis-
   20 representation.” Dura, 544 U.S. at 341. To state a claim for violation of Section 10(b)
   21 and Rule 10b-5, a plaintiff must allege “(1) a material misrepresentation or omission
   22 by the defendant; (2) scienter; (3) a connection between the misrepresentation or omis-
   23 sion and the purchase or sale of a security; (4) reliance upon the misrepresentation or
   24 omission; (5) economic loss; and (6) loss causation. Buttonwood Tree Value Partners,
   25
      5
        The court also may consider additional facts in materials of which the district court
   26 may take judicial notice, Barron v. Reich, 13 F.3d 1370, 1377 (9th Cir. 1994), as well
      as “documents whose contents are alleged in a complaint and whose authenticity no
   27 party questions, but which are not physically attached to the pleading,” Branch v.
      Tunnell, 14 F.3d 449, 454 (9th Cir. 1994), overruled in part on other grounds, Gal-
   28 braith v. Cty. of Santa Clara, 307 F.3d 1119 (9th Cir. 2002).
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     1 LP v. Sweeney, 910 F. Supp. 2d 1199, 1204 (C.D. Cal. 2012) (Carney, J.) (citing Stone-
     2 ridge Inv. Partners v. Scientific-Atlanta, 552 U.S. 148, 157 (2008)), aff’d, 667 F.
     3 App’x 238 (9th Cir. 2016)).6 A statement or omission is actionably misleading where
     4 it “affirmatively create[s] an impression of a state of affairs that differs in a material
     5 way from the one that actually exists.” In re Amgen Inc. Sec. Litig., 544 F. Supp. 2d
     6 1009, 1030 (C.D. Cal. 2008) (citing Brody v. Transitional Hospitals Corp., 280 F.3d
     7 997, 1006 (9th Cir. 2002)). “Often, a statement will not mislead even if it is incom-
     8 plete or does not include all relevant facts.” Brody, 280 F.3d at 1006.
     9 C.        Heightened Pleading Standards in Securities Fraud Actions
   10            Claims under Section 10(b) and Rule 10b-5 must meet the heightened pleading
   11 requirements in Rule 9(b) and the PSLRA. Brown v. InnerWorkings, Inc., 2019 WL
   12 4187385, at *3 (C.D. Cal. Mar. 27, 2019) (Carney, J.) (citing 15 U.S.C. § 78u-
   13 4(b)(2)(A); Semegen v. Weidner, 780 F.2d 727, 729, 734-35 (9th Cir. 1985)). Rule
   14 9(b) of the Federal Rules of Civil Procedure provides that the “circumstances consti-
   15 tuting fraud or mistake shall be stated with particularity.” Fed. R. Civ. P. 9(b). A
   16 securities fraud claim cannot survive a motion to dismiss under Rule 9(b) merely by
   17 generally alleging that certain statements were false.          Metzler Inv. GMBH v.
   18 Corinthian Colleges, Inc., 540 F.3d 1049, 1070 (9th Cir. 2008). Rather, the plaintiff
   19 must specify “the reason or reasons why the statement is misleading.” 15 U.S.C.
   20 § 78u–4(b)(1).
   21
      6
        The AC asserts claims under all three subsections of Rule 10b-5. However, as the
   22 “scheme to defraud” alleged in the AC under Rule 10b-5(a) and (c) does not involve
      any of the traditional bases for “scheme” liability, i.e., “practices, such as wash sales,
   23 matched orders, or rigged prices, that are intended to mislead investors by artificially
      affecting market activity” (Santa Fe Indus., Inc. v. Green, 430 U.S. 462, 476 (1977)),
   24 and is instead based entirely upon defendants’ alleged misstatements, it is properly
      analyzed under the same framework as a Rule 10b-5(b) claim. The Supreme Court’s
   25 decision in Lorenzo v. Sec. & Exch. Comm’n, 139 S. Ct. 1094, 1099 (2019), should
      not be read to alter this conclusion. Lorenzo was an SEC enforcement action, where
   26 the elements of a Rule 10b-5 violation are narrower than those in a private right of
      action (e.g., the SEC need not prove reliance or causation). Although Lorenzo held
   27 that non-statement makers could be held liable under a scheme liability claim, it did
      not alter the requirements for pleading falsity and scienter under the PSLRA with
   28 respect to the makers of false statements recharacterized as part of a “scheme.”
                                                -8-
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     1            In enacting the PSLRA, “Congress impose[d] heightened pleading require-
     2 ments in actions brought pursuant to §10(b) and Rule 10b-5.” Tellabs, Inc. v. Makor
     3 Issues & Rights, Ltd., 551 U.S. 308, 320 (2007) (citations and internal quotation marks
     4 omitted). Among other things, the PSLRA enhanced Rule 9(b)’s particularity require-
     5 ment, “providing that a securities fraud complaint [must] identify: (1) each statement
     6 alleged to have been misleading; (2) the reason or reasons why the statement is mis-
     7 leading; and (3) all facts on which that belief is formed.” 15 U.S.C. § 78u-4(b)(1).
     8 The statute also requires, with respect to pleading that each allegedly misleading state-
     9 ment or omission was made with scienter, that plaintiff “state with particularity” as to
   10 each defendant “facts giving rise to a strong inference that the defendant acted with
   11 the required state of mind,” i.e. scienter. 15 U.S.C. § 78u-4(b)(2). If the complaint
   12 does not contain such allegations, it must be dismissed. 15 U.S.C. § 78u-4(b)(3)(A).
   13 These requirements “prevent[] a plaintiff from skirting dismissal by filing a complaint
   14 laden with vague allegations of deception unaccompanied by a particularized explana-
   15 tion stating why the defendant’s alleged statements or omissions are deceitful.”
   16 Metzler, 540 F.3d at 1061.
   17             “Scienter” refers to a “mental state embracing intent to deceive, manipulate, or
   18 defraud.” Ernst & Ernst v. Hochfelder, 425 U.S. 185, 193 n.12 (1976); see also
   19 Brown, 2019 WL 4187385 at *3. A defendant acts with scienter only if he makes
   20 false or misleading statements either intentionally or with deliberate recklessness. See
   21 Zucco Partners, LLC v. Digimarc Corp., 552 F.3d 981, 991 (9th Cir. 2009). The
   22 requisite state of mind must be a “departure from the standards of ordinary care [that]
   23 presents a danger of misleading buyers that is either known to the defendant or so
   24 obvious that the actor must have been aware of it.” Id. (citation omitted). “[A]lle-
   25 gations that the defendant possessed knowledge of facts that are later determined by a
   26 court to have been material, without more, is not sufficient to demonstrate that the
   27 defendant intentionally withheld those facts from, or recklessly disregarded the impor-
   28 tance of those facts to, a company’s shareholders in order to deceive, manipulate, or
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     1 defraud.” City of Philadelphia v. Fleming Cos., 264 F.3d 1245, 1260 (10th Cir. 2001)
     2 (emphasis added). “The question is not merely whether the [defendant] had know-
     3 ledge of undisclosed facts; rather, it is the danger of misleading buyers that must be
     4 actually known or so obvious that any reasonable man would be legally bound as
     5 knowing.” Id. (citation omitted).
     6            To meet the PSLRA’s high burden for pleading scienter, a complaint cannot
     7 rely on “mere motive and opportunity or recklessness, but rather, must state specific
     8 facts indicating no less than a degree of recklessness that strongly suggests actual
     9 intent.” Prodanova v. H.C. Wainwright & Co., LLC, 993 F.3d 1097, 1108 (9th Cir.
   10 2021) (citing Glazer Cap. Mgmt., LP v. Magistri, 549 F.3d 736, 743 (9th Cir. 2008)).
   11 Allegations of mere negligence are insufficient. See Glazer, 549 F.3d at 748 (“At
   12 most, it creates the inference that he should have known of the violations. This is not
   13 sufficient to meet the stringent scienter pleading requirements of the PSLRA.”). A
   14 plaintiff also must allege facts “linking specific reports and their contents to the exe-
   15 cutives” and linking “the witnesses and the executives” allegedly responsible for the
   16 false and misleading statements. Police Retirement System of St. Louis v. Intuitive
   17 Surgical, Inc., 759 F.3d 1051, 1063 (9th Cir. 2014) (citing Zucco, 552 F.3d at 1000)
   18 (“[A]llegations that senior management . . . closely reviewed the accounting numbers
   19 generated . . . each quarter . . . , and that top executives had several meetings in which
   20 they discussed quarterly inventory numbers” insufficient to establish scienter).
   21             To qualify as ‘strong’ within the intendment of . . . the PSLRA . . . an inference
   22 of scienter must be more than merely plausible or reasonable — it must be “cogent
   23 and at least as compelling as any opposing inference of nonfraudulent intent.” Kmiec
   24 v. Powerwave Techs. Inc., 2013 WL 12114821, at *2 (C.D. Cal. May 16, 2013)
   25 (Carney, J.) (quoting Tellabs, 551 U.S. at 314). Any alleged “contemporaneous state-
   26 ments or conditions” must be necessarily inconsistent with the alleged misrepresenta-
   27 tions. See Ronconi v. Larkin, 253 F.3d 423, 432-34 (9th Cir. 2001). To plead a strong
   28 inference of scienter against a corporate defendant, a plaintiff must plead a strong
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     1 inference of scienter with respect to the executives responsible for making the alleg-
     2 edly false or misleading statements. See Oregon Pub. Emps. Ret. Fund v. Apollo Grp.
     3 Inc., 774 F.3d 598, 607 (9th Cir. 2014).
     4            “The stricter standard for pleading scienter naturally results in a stricter stan-
     5 dard for pleading falsity, because falsity and scienter in private securities fraud cases
     6 are generally strongly inferred from the same set of facts, and the two requirements
     7 may be combined into a unitary inquiry under the PSLRA.” In re Vantive Corp. Sec.
     8 Litig., 283 F.3d 1079, 1091 (9th Cir. 2002) (noting that the Ninth Circuit often treats
     9 the falsity and scienter analyses as “a single inquiry, because falsity and scienter are
   10 generally inferred from the same set of facts.”) (citation omitted); accord Kmiec, 2013
   11 WL 12114821, at *4. Thus, a plaintiff is “required to allege, with particularity,
   12 sufficient facts to raise a strong inference that the statements made by [a company’s
   13 officers] were actually false or misleading at the time they were made and that [the
   14 company’s] officers acted with the requisite level of intent.” In re Impac Mortg.
   15 Holdings, Inc. Sec. Litig., 554 F. Supp. 2d 1083, 1091 (C.D. Cal. 2008) (Carney, J.).
   16                                       IV.    ARGUMENT
   17 A.          Lead Plaintiff Fails to State a Primary Claim for Violation of Section
                  10(b) and Rule 10b-5
   18
   19             The AC totals 127 pages and 363 paragraphs. Length, however, should not be
   20 mistaken for substance. See Williams v. WMX Technologies, Inc., 112 F.3d 175, 178
   21 (5th Cir. 1997) (“A complaint can be long-winded, even prolix, without pleading with
   22 particularity. Indeed, such a garrulous style is not an uncommon mask for an absence
   23 of detail.”). Here, despite pages and pages of allegations, the AC contains little of
   24 substance. The AC suffers from the following key flaws: (1) it asserts claims regard-
   25 ing vague aspirational statements of optimism or “puffery”; (2) it asserts claims pre-
   26 dicated upon protected forward-looking statements; (3) it fails to support its conclu-
   27 sory claims as to why statements are false with sufficient, reliable facts; (4) it fails to
   28
                                                     -11-
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     1 allege a strong inference of scienter as to any individual defendant with particularity;
     2 and (5) it fails to allege a cognizable corrective disclosure.
     3            1.       The AC Asserts Claims as to Non-Actionable Statements of
                           Optimism
     4
     5            Vague, generalized assertions of corporate optimism or statements of “mere
     6 puffing” are not actionable under the federal securities laws. See, e.g., In re Cutera
     7 Sec. Litig., 610 F.3d 1103, 1111 (9th Cir. 2010) (“When valuing corporations . . .
     8 investors do not rely on vague statements of optimism like ‘good,’ ‘well-regarded,’
     9 or other feel good monikers.”); see also Intuitive Surgical, 759 F.3d at 1060 (“Profes-
   10 sional investors, and most amateur investors as well, know how to devalue the opti-
   11 mism of corporate executives.”).
   12             Here, the AC identifies as false or misleading statements regarding Work-
   13 horse’s “meaningful progress,” that it “appreciat[ed] the continued interest” it
   14 received as a bid participant, that it was “seeing customers very positive about our
   15 trucks,” that it felt “cautiously optimistic” and “pretty comfortable” that vendors had
   16 “weathered the storm,” that the order from eTrucks was a “highlight” of the quarter
   17 and an “opportunity for additional sales,” that Workhorse thought business was
   18 “great,” that it had formed a “strategic partnership,” that it sought to “ramp up” pro-
   19 duction, that it had “associations with UPS,” not disputing that it “consistently ship[s]
   20 products,” that the NGDV contract was “a huge fleet opportunity,” that it was “happy
   21 where [it was] with UPS,” that President Biden’s comments regarding electric
   22 vehicles were “positive” and “meaningful,” that in the future Workhorse might have
   23 “a governmental division of some sort” and that as a result of its losing the NGDV
   24 bid it would “explore all avenues that are available.” (See AC ¶¶ 160, 168, 177, 179,
   25 189, 192, 202, 204, 223, 224, 226, 227, 237, 247, 251, 261, 263, 272, 276.)
   26             These statements do not offer any “specific details or forecasts regarding [the
   27 Company’s] performance.”             See Kmiec v. Powerwave Techs. Inc., 2013 WL
   28 12113411, at *4 (C.D. Cal. Jan. 25, 2013) (Carney, J.). Courts do not hold such
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     1 generalized statements of corporate optimism to be actionable. See, e.g., id. (state-
     2 ments such as “Powerwave [is] highly competitive” and “we have positioned Power-
     3 wave to be in an excellent position from which to build upon and capture both the
     4 short-term and long-term growth opportunities that are in the global wireless infra-
     5 structure marketplace,” held to be puffery); see also Impac, 554 F. Supp. at 1096
     6 (statements such as, “We continue to expect solid loan acquisitions and originations,”
     7 “We remain optimistic for continued solid loan production for 2005” and “We con-
     8 tinue to believe our fundamentals are solid,” held to be nonactionable puffery). The
     9 AC’s claims based upon these types of statements must be dismissed.
   10            2.       The AC Asserts Claims as to Protected Forward-Looking
                          Statements
   11
   12            Forward-looking statements also are not actionable under the federal securities
   13 laws to the extent protected by the PSLRA’s safe harbor. 15 U.S.C. § 78u-5(c). For-
   14 ward-looking statements are those that contain a projection of revenues, income, earn-
   15 ings per share, management's plans or objectives for future operations or a prediction
   16 of future economic performance. Impac, 554 F. Supp. at 1098 (citing 15 U.S.C.
   17 § 78u–5(i)(1)(A)-(C)). Any statement of “the assumptions underlying or relating to”
   18 these sorts of statements also falls within the definition of a forward-looking
   19 statement. Id. (citing 15 U.S.C. § 78u–5(i)(D)). The PSLRA safe harbor applies if
   20 the forward-looking statement is (1) identified as such and accompanied by
   21 meaningful cautionary language or (2) was made without actual knowledge of its
   22 falsity. Kmiec, 2013 WL 12113411, at *5 (citing 15 U.S.C. § 78u–5(c)(1)); see also
   23 Cutera, 610 F.3d at 1113. Because the two prongs of the safe harbor are “alternative
   24 means by which forward-looking statements may qualify for the safe harbor,” (Impac,
   25 554 F. Supp. 2d at 1098 (citation omitted)), a defendant need only establish that it
   26 meets one of the prongs to be protected.
   27            The AC identifies as false or misleading a variety of statements regarding
   28 Workhorse’s plans or objectives for future production, orders and order fulfillment,
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     1 or Workhorse’s assumptions underlying said plans or objectives. (See, e.g., AC ¶ 160
     2 (“we are setting a 2020 production target of 300-400 vehicles”); id. ¶ 162 (“intent is
     3 to produce and deliver a limited number of vehicles to our customers in the second
     4 quarter and then move to higher volumes and deliveries with a target of delivering
     5 roughly 30-400 delivery trucks in 2020”); id. ¶ 164 (“it’s only above 10 that we
     6 actually would need CapEx”); id. ¶ 166 (statement that they anticipate delivering UPS
     7 trucks in late Q2 or Q3); id. ¶ 175 (“target of delivering 300-400 vehicles by the end
     8 of the year”); id. ¶ 177 (“reiterating out guidance of 300-400 delivery trucks produced
     9 in 2020”; 181 (“staff . . . could still meet that two units per day”); id. ¶ 183 (“I would
   10 think it’s a similar supply chain that would supply the current trucks that would supply
   11 a post office vehicle”); id. ¶ 192 (“we plan to make 300-400 this year”); id. ¶ 196
   12 (“goal . . . is to considerably shorten timeframes to assemble a C-Series vehicle and
   13 deliver our target vehicle production of 300-400 units”); id. ¶ 198 (statement that
   14 Union City would have the ability to fulfill USPS contract because in its history it
   15 made 60,000 chassis); id. ¶ 211 (“how to get to kind of our three to four hundred this
   16 year, uh, in the fourth quarter”); id. ¶ 212 (“can probably do a very similar amount
   17 from the standpoint of trucks”); id. ¶ 230 (“we have a plan to build and manufacture
   18 and deliver 300-400 this year”); id. ¶ 235 (“we still have the 300-400 that we have out
   19 there, and that’s our goal”); id. ¶ 245 (“we would anticipate producing 1,800 units in
   20 2021”); id. ¶ 256 (“by the end of the first quarter we’d like to have 100 per month . . .
   21 by the end of the second quarter 200 per month); id. ¶ 277 (“we’re trying to get to a
   22 target of three a day . . . keep out our 10 a day by the end of sometime in June or by
   23 the end of the second quarter”); id. ¶ 279 (“I think their first trucks would ideally go
   24 to California”). All of these and numerous similar statements identified in the AC are
   25 “forward-looking” within the meaning of the PSLRA. See, e.g., Kmiec, 2013 WL
   26 12113411 (statements setting a revenue target and confirming that the company was
   27 on track to meet that goal protected as forward-looking even “[t]hough the individual
   28 Defendants were clearly wrong in their projections”).
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     1            At least one or both of the prongs of the safe harbor apply to these statements.
     2 First, as the AC concedes, the majority of the challenged statements are found in SEC
     3 filings, which include a section entitled “Forward-Looking Statements” that notifies
     4 investors that the filing contains forward-looking statements and sets forth meaningful
     5 cautionary language. Others are in investor/analyst calls which also contain similar
     6 warnings and references to the cautionary language in Workhorse’s SEC filings as a
     7 preface to the call. For example, Workhorse’s March 10, 2020 Form 8-K noted under
     8 the title “Forward-Looking Statements” that that any statements that were not histori-
     9 cal facts qualified as forward-looking statements that might not come true due to,
   10 among other things, “limited operations and need to expand in the near future,” “risks
   11 associated with obtaining orders and executing upon such orders,” the potential “lack
   12 of market acceptance” of products, and the “inability to raise additional capital to fund
   13 operations and business plan.” (See Request for Judicial Notice (“RJN”), at Ex. A.)
   14 This “Forward-Looking Statement” language was maintained in Workhorse’s SEC
   15 filings throughout the class period. (Id. at Exs. B-R.) Thus, investors were specifi-
   16 cally cautioned of the risk that Workhorse might not be able to ramp up production as
   17 intended due to a variety of issues, as well as that the market — such as USPS, UPS
   18 or anyone else — might not accept Workhorse’s prototypes. See generally Impac,
   19 554 F. Supp. 2d at 1099 (statements protected where company “used meaningful lan-
   20 guage that specifically cautioned shareholders that . . . predictive value was under-
   21 mined” by relevant risks).
   22             Second, the AC fails to allege sufficient facts supporting the speculative alle-
   23 gation that the individual defendants had actual knowledge that the alleged statements
   24 were false when made. While this holds true for all of the statements at issue, as
   25 detailed below, it is specifically true for those handful of forward-looking statements
   26 that allegedly were made without meaningful cautionary language. Specifically
   27 implicated are statements made in Schrader’s YouTube interviews (1) on July 24,
   28 2020 and October 29, 2020 that the 300-400 target was still Workhorse’s “plan” and
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     1 “goal” for 2020; (2) on November 14, 2020, that Workhorse would like to be pro-
     2 ducing 100 vehicles a month by the end of the Q1 2021; and (3) on January 27, 2021,
     3 that in the future Workhorse might have a “governmental division of some sort.” (AC
     4 ¶¶ 192, 235, 256, 261.)
     5            Nowhere does the AC allege facts supporting that these statements are actually
     6 false, let alone that Schrader knew they were false when made. Cleared of its rhetoric,
     7 the AC alleges at most that Schrader should have known that Workhorse could not
     8 meet his quoted FY 2020 and Q1 2021 production guidance because of the alleged
     9 state of the Company’s production capabilities during the pandemic. (Id. ¶¶ 193, 236,
   10 257.) However, the AC contains no reliable allegations from CWs that as of the dates
   11 of Schrader’s statements Workhorse did not intend or have plans to implement
   12 changes in the factory or staffing to permit it to reach its Q1 2021 guidance, let alone
   13 facts supporting that Schrader actually knew (not merely “should have known”) that
   14 Workhorse had no such intention or plans (or could not implement them because of
   15 COVID and supplier shortages). The AC’s conclusion that Workhorse did not intend
   16 to implement changes to permit it to meet its guidance is thus based solely on the fact
   17 that, as it turned out, Workhorse was not able to ramp up to meet its guidance — the
   18 very definition of a “fraud by hindsight.”
   19             The AC’s allegations regarding the alleged deficiencies with Workhorse’s
   20 USPS prototype/proposal also do not support a strong inference that Schrader knew
   21 his comment regarding a future governmental division “of some sort” would mislead
   22 investors. (See id. ¶ 262.) Even if Schrader knew by then it was likely Workhorse
   23 would not be chosen by the USPS in any capacity (speculation unsupported by
   24 particularized factual allegations in the AC), that does not mean he knew investors
   25 would take his reference to a governmental division as somehow hinting of positive
   26 news with respect to the USPS bid.
   27
   28
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     1            3.       The AC Fails to Plead Sufficient Facts Supporting Why
                           Defendants’ Public Statements Were False or Misleading
     2
     3            As detailed above, the alleged false and misleading statements in the AC fall
     4 into three categories: (1) those confirming the Company’s continued inclusion in the
     5 USPS NGDV bid process; (2) those including the Company’s projections as to future
     6 productivity; and (3) those discussing the Company’s order backlog and plans to
     7 fulfill them. The AC’s allegations regarding how and why each statement in said
     8 categories are false or misleading are the same, and, in fact, the why frequently over-
     9 laps from one category to another.
   10             The USPS Contract Bid. The AC attempts to mischaracterize the statements
   11 Workhorse actually made about the USPS contract bid. It cannot be emphasized
   12 enough what Workhorse did not say publicly about the USPS contract bid. Work-
   13 horse never stated that it was a “frontrunner” for the USPS contract. (See AC ¶ 285).
   14 Rather, Workhorse made several non-specific statements that the Company remained
   15 a bidder for the USPS contract (which was true) and that it could not discuss any non-
   16 public information regarding the bid process. (Id. ¶¶ 168, 172, 183, 198, 204, 213,
   17 251.) The only other statements regarding the bid process identified in the AC (all
   18 non-actionable as discussed above) are that Schrader believed (1) if Workhorse were
   19 to secure all or a portion of the USPS contract Workhorse’s facilities and suppliers
   20 would be able to fulfill it; (2) that securing the contract would be a “huge fleet
   21 opportunity” and “transformative”; and (3) that President Biden’s remarks were
   22 “positive” and “meaningful.” (Id. ¶¶ 237, 261, 263) This of course is why the AC
   23 misleadingly and confusingly intersperses its recitation of defendants’ statements
   24 with how certain outside analysts and YouTube commentators purported to interpret
   25 the statements and promote them for their own self-interest. Self-interested specu-
   26 lation by outside market participants cannot be the basis for a claim for securities
   27 fraud. The question instead is objectively whether a reasonable investor would be
   28 misled into thinking that Workhorse was a frontrunner for the USPS contract based
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     1 upon the defendants’ anodyne statements about the bid. See generally Brody, 280
     2 F.3d at 1007 (dismissing securities claim in part because the plaintiff’s interpretation
     3 of statements was not objectively reasonable).7
     4            Putting aside the AC’s self-serving mischaracterization of Workhorse’s actual
     5 statements on the subject, the AC alleges that defendants’ status updates were mis-
     6 leading because (1) in Spring 2018 there was a roll-away incident with the Workhorse
     7 prototype; (2) on September 3, 2020, the USPS sent Workhorse a “Deficiency List”
     8 identifying various alleged “weaknesses”; (3) on October 21, 2020 USPS sent
     9 Workhorse another email containing a list of purported issues; and (4) Workhorse
   10 allegedly was not capable of producing trucks on the scale required to win the
   11 contract. (See, e.g., AC ¶¶ 51, 54-55, 169, 252.)
   12             As to the first three assertions, the AC’s allegations have glaring temporal
   13 problems. For example, the USPS’ list of alleged deficiencies in September 2020
   14 cannot be deemed to render a statement four months earlier in May 2020 deliberately
   15 false or misleading. Lead plaintiff makes no effort to tie each USPS bid status update
   16 over a twelve-month period to the specific circumstances that existed at the time of
   17 each statement. See Vantive, 283 F.3d at 1086 (dismissal warranted where plaintiff
   18 fails to allege specific facts indicating why a statement would have been misleading
   19 “at the several points at which it was alleged to have been made”). Even assuming
   20 the prototype and proposal had issues to be addressed, these allegations do not support
   21 a strong inference that Workhorse knew it was no longer a legitimate candidate for
   22 the USPS contract when those statements were made.8 Lead plaintiff admits that the
   23
   24    7
           Some viewers of YouTube interviews in which Schrader made no comments with
   25    respect to the USPS contract commented that Workhorse surely got the bid based on
         his “demeanor” (he smiled) and the mere fact that the YouTube host had shared the
   26    video. (AC ¶¶ 217, 259, 261, 265.)
         8
           The AC relies heavily upon statements made by the USPS after it did not select
   27    Workhorse for the contract to imply that Workhorse knew months earlier that it would
         not be selected. (See AC ¶ 16.) Lead plaintiff offers no allegation, however, that
   28    Workhorse was aware of these aspects of the USPS’ internal decision making process.
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     1 USPS permitted Workhorse to submit a proposal after the alleged issues with its pro-
     2 totype were raised by the USPS, and that Workhorse submitted detailed responses to
     3 the claimed deficiencies with Workhorse’s proposal identified by the USPS. (Id.
     4 ¶¶ 53-55.) Thus, the mere existence of these purported issues does not support a
     5 strong inference that Workhorse knew it was not in the running for all or part of the
     6 USPS contract. Tellingly, the AC contains no allegations indicating that Oshkosh and
     7 the other bidders were not provided similar deficiency lists by the USPS.
     8            Finally, lead plaintiff’s assertion that Workhorse needed an existing manufac-
     9 turing facility capable of manufacturing a bespoke USPS vehicle in order to render its
   10 participation in the bidding process non-fraudulent is a red herring. Oshkosh Defense,
   11 the winner of the bid, also did not have existing manufacturing facilities sufficient to
   12 build its NGDV prototype, and instead intends to invest $155 million to convert a
   13 large warehouse facility into a manufacturing plant. (RJN, Exs. S-U.) The AC does
   14 not allege facts supporting that Workhorse’s proposal to the USPS did not similarly
   15 include a proposal relating to future production.
   16             Production Capabilities/Projections. As detailed above, lead plaintiff’s allega-
   17 tions regarding the Company’s production capabilities are uniformly forward-looking
   18 statements that are protected under the PSLRA’s safe harbor. Lead plaintiff also fails
   19 to allege sufficient facts demonstrating the falsity of those statements at the times they
   20 were made. His allegations of falsity are based entirely upon CW allegations and the
   21 anonymous “Fuzzy Panda” blog. Neither is sufficiently reliable to provide a basis
   22 under the PSLRA to support falsity or scienter.
   23             Under the PSLRA, “a complaint relying on statements from confidential wit-
   24 nesses must pass two hurdles to satisfy the PSLRA requirements.” Zucco, 552 F.3d
   25 at 995. First, the source of the statements “must be described with sufficient particu-
   26 larity to establish their reliability and personal knowledge.” Id. The first prong of
   27 this two-part CW test analyzes whether the complaint has provided sufficient detail
   28 about a CW’s position and responsibilities within the company to provide a basis for
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     1 attributing the facts reported by that witness to the witness' personal knowledge. Id.
     2 The statements may only be relied upon where the source is described “with sufficient
     3 particularity to support that probability that the person in the position occupied by the
     4 source would possess the information alleged.” Id.; see also Nursing Home Pension
     5 Fund, Local 144 v. Oracle Corp., 380 F.3d 1226, 1230 (9th Cir. 2004) (citation
     6 omitted). Second, the statements “must themselves be indicative of scienter.” Id.
     7            Here, the CW allegations in the AC pass neither hurdle. CW4 is described as
     8 a “Buyer/Planner” employed from March 2020 to October 2020 — and nothing else.
     9 (See AC ¶ 105.) A buyer/planner of what? The AC is silent. CW2 is identified as an
   10 “Executive Director of Human Resources,” without any explanation of the job
   11 responsibilities associated with this position. (Id. ¶ 81.) CW3 is similarly described
   12 as a “materials manager,” without any more detail. (Id. ¶ 95.) CW1 is not given a
   13 title at all; he or she is simply noted to be an “employee” on a USPS-related team.
   14 (Id. ¶ 50.) These cryptic descriptions are nowhere near sufficient to meet the
   15 PSLRA’s exacting standards. Zucco, 552 F.3d at 995 (holding that to rely on CW
   16 allegations a complaint must not contain detailed allegations regarding what the CW
   17 specifically worked on and how they personally obtained knowledge regarding the
   18 allegations attributed to them). This failure to describe the CWs and the basis for their
   19 knowledge sufficiently is particularly troubling in the case of CW2 because this
   20 individual is alleged to be in the human resources group, but then is attributed with
   21 information regarding Workhorse’s production/engineering capabilities. (Id. ¶¶ 96,
   22 104.) Lead plaintiff offers no explanation as to how a human resources employee
   23 would have reliable first-hand knowledge of production capabilities.9
   24             As to the second prong, the statements themselves are not indicative of scienter.
   25 Allegations that Workhorse continued to have issues with its production capabilities
   26
   27  As noted above, CW2 was terminated for embezzlement and is currently being sued
         9
      by the Company for that reason, placing even further doubt on the reliability of the
   28 allegations attributed to him.
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     1 do not support a cogent and compelling inference of scienter on the part of
     2 Workhorse’s senior management, especially as, at best, only two of the CWs ever met
     3 with one of the individual defendants, and only one time at that. (Id. ¶ 326.)
     4            The “Fuzzy Panda” blog post fails for essentially the same reason. The post is
     5 predicated upon alleged interviews with anonymous, non-descript “employees.” (See
     6 e.g., id. ¶ 100.) Lead plaintiff cannot skirt the Ninth Circuit’s standard regarding CWs
     7 by pointing to similarly insufficient alleged employee descriptions provided by an
     8 anonymous blogger. See Miller v. PCM, Inc., 2018 WL 5099722, at *9 n.6 (C.D. Cal.
     9 Jan. 3, 2018) (applying Ninth Circuit standard for CWs to anonymous blog posts).
   10 Here, lead plaintiff admits that even analysts found “Fuzzy Panda” unreliable. (AC
   11 ¶ 295.)10
   12             The CWs and “Fuzzy Panda” also do not offer factual information that supports
   13 the AC’s broad conclusions. Even accepting the AC’s allegations that a lack of auto-
   14 mation and insufficient workers at Workhorse’s Union City factory during the
   15 COVID-19 pandemic caused Workhorse not to meet its 300-400 production target for
   16 2020, the AC does not allege facts showing that it was not Workhorse’s actual plan
   17 and intention to meet its target when the target was made. Workhorse never claimed
   18 its production was fully automated or that certain changes would not need to be imple-
   19 mented to ramp up production to meet its target for 2020. As the AC admits, Work-
   20 horse proudly aired a YouTube video of its production line, which did not show (or
   21 claim) automation, but rather trucks being assembled on worktables. (Id. ¶ 101.)
   22 Indeed, Workhorse repeatedly warned investors it would need to ramp up production
   23 to meet its targets. (See, e.g., id. ¶¶ 162, 192, 196, 230.) Although lead plaintiff posits
   24 this could be done only with automation, the AC pleads no facts supporting this asser-
   25 tion. Finally, the AC alleges no facts to support lead plaintiff’s accusation that
   26
      10
         These sources also suffer from severe temporal problems. CW1 and CW2 left
   27 Workhorse in June 2020, mere months into the class period, and the “Fuzzy Panda”
      blog post was based upon visits allegedly made in September 2020. (AC ¶¶ 50, 96,
   28 99.)
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     1 COVID-19 was not, as Workhorse represented, a significant cause of Workhorse’s
     2 inability to meet its production targets. Again, the Court need not accept the AC’s
     3 conclusory allegations (see id. ¶¶ 160, 179, 242, 256, 266) where there are no particu-
     4 larized factual allegations to supporting them. Stripped of hyperbole, the AC’s claim
     5 regarding production targets reflects nothing more than fraud by hindsight. 11
     6            Workhorse’s New and Outstanding Orders. The AC alleges that defendants’
     7 statements regarding backlog orders were false or misleading when made because
     8 those orders were all conditional or cancellable by the customer. (See, e.g., id. ¶¶ 167,
     9 201, 232, 247, 250, 257, 280, 283.) 12 As noted above, the AC’s other allegations
   10 show that Workhorse disclosed the fact that the backlog orders were not guaranteed,
   11 as they were subject to conditions. (See id. ¶¶ 137, 283.) For example, the AC admits
   12 that Workhorse attached the UPS agreement to its Form 8-K, which states in plain
   13 language that UPS could cancel the balance of the order. (Id. ¶ 138.) Similarly, the
   14 AC admits that Workhorse informed the public that another order was “subject to
   15 various production and delivery conditions.” (Id. ¶ 283.) The AC fails to plead that
   16 the challenged statements were false or misleading when made. Moreover, the AC
   17 alleges no facts supporting that any of these contracts actually has been canceled or
   18 will not be fulfilled by Workhorse in the ordinary course.
   19
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         11
            The allegations in the AC more strongly support the inference that Workhorse
         intended to meet those targets and was laying groundwork to make that possible. For
   24    example, lead plaintiff admits that from May to June 2020, immediately after setting
         the 2020 target, Workhorse secured $70 million in new financing (AC ¶ 188), and in
   25    August 2020, it hired Hitachi as a consultant to assist with ramping up production.
         (Id. ¶ 226).
   26    12
            Lead plaintiff’s allegations with respect to eTrucks are pure speculation. Work-
         horse fully disclosed that eTrucks was a startup, and there is nothing suspicious about
   27    an employee of Workhorse knowing another individual that decided to launch a
         complementary electric truck leasing company. And here, too, lead plaintiff alleges
   28    no relevant corrective disclosure for purposes of pleading loss causation.
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     1            4.       The AC Fails to Plead Particularized Facts Giving Rise to a Strong
                           Inference That Defendants Acted With Scienter
     2
     3            In order to meet the exacting standards of the PSLRA, lead plaintiff is required
     4 to “allege scienter with respect to each of the individual defendants.” See Oregon,
     5 774 F.3d at 607 (emphasis added). Where a complaint instead “relies on allegations
     6 that management had an important role in the company but does not contain additional
     7 detailed allegations about the defendants’ actual exposure to information, it will usu-
     8 ally fall short” of the PSLRA standard. South Ferry LP, No. 2 v. Killinger, 542 F.3d
     9 776, 784 (9th Cir. 2008). In such cases the inference that defendants had knowledge
   10 of the relevant facts will not be much stronger, if at all, than the inference that defen-
   11 dants remained unaware. Id.; see also ESG Capital Partners, LP v. Stratos, 2013 WL
   12 12131355, at *5 (C.D. Cal. June 26, 2013) (conclusory allegations that defendant
   13 “knew about” the alleged misconduct insufficient to allege scienter).
   14             The AC makes no attempt to connect a statement-maker’s knowledge of fal-
   15 sity at the time the statement was made to any individual statement alleged. Instead,
   16 the AC’s scienter allegations are focused on the important roles of the individual
   17 defendants at Workhorse, their compensation structure, and stock sales. Compensa-
   18 tion-based scienter arguments that the defendants would generally benefit from
   19 fraud are not indicative of scienter. See Zucco, 552 F.3d at 1005 (to support infer-
   20 ence of scienter based on compensation-based motive and opportunity a complaint
   21 “must include[e] comparisons to previous years' [compensation]”). The fact that
   22 certain of Workhorse’s officers (and particularly one officer) exercised stock options,
   23 including after the market exhibited outsized reaction to President Biden’s January
   24 2021 announcement or when the Reddit community targeted the Company with a
   25 stock run-up, also is not indicative of scienter of the individual defendants as a whole.
   26 If everyone was “in on the fraud,” why did the other individual defendants not sell
   27
   28
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     1 more at more opportune times?13 The failure of insiders to take advantage of an
     2 alleged fraud “undermines any inference of scienter.” In re Pixar Sec. Litig., 450 F.
     3 Supp. 2d 1096, 1105-06 (N.D. Cal. 2006); see also Ronconi, 253 F.3d at 435 (“One
     4 insider’s well timed sales do not support the ‘strong inference’ required by the statute
     5 where the rest of the equally knowledgeable insiders act in a way inconsistent with
     6 the inference that the favorable characterizations of the company’s affairs were known
     7 to be false when made.”).
     8            In sum, the facts alleged in the AC more strongly support an inference that
     9 Workhorse fought hard to be awarded the USPS contract (and continues to protest the
   10 USPS’ decision), and that management worked to ramp up production of their trucks
   11 in the face of a once-in-a-century global pandemic. As the Ninth Circuit has observed,
   12 “[p]roblems and difficulties are the daily work of business people. That they exist
   13 does not make a lie out of any of the alleged false statements.” Id. at 434.
   14             5.       The AC Fails to Plead Loss Causation
   15             “Loss causation is shorthand for the requirement that ‘investors must demon-
   16 strate that the defendant's deceptive conduct caused their claimed economic loss.’”
   17 Lloyd v. CVB Fin. Corp., 811 F.3d 1200, 1209 (9th Cir. 2016) (citations omitted).
   18 “[T]he ultimate issue is whether the defendant's misstatement, as opposed to some
   19 other fact, foreseeably caused the plaintiff's loss.” Id. at 1210. In the Ninth Circuit,
   20 a plaintiff must plead loss causation with particularity under Rule 9(b). Oregon, 774
   21 F.3d at 605. A plaintiff satisfies its loss causation pleading burden by alleging that a
   22 “corrective disclosure” revealed the fraud and thereby “caused the company's stock
   23
   24    13
            For example, Schrader sold twice during the putative class period, on December 14,
         2020 and January 8, 2021, which do not immediately proceed or follow any state-
   25    ments by him or anyone else. (RJN, Exs. U-V.) In fact, he sold after Workhorse
         announced that it was not meeting its 2020 target, causing the stock to go down, and
   26    before the President’s statements that buoyed Workhorse’s stock. Ackerson and Wil-
         lison similarly sold during this “dead zone” of allegedly false or misleading state-
   27    ments identified in the AC, as well as during a similar mid-summer 2020 “dead zone”
         of alleged misstatements. (Id. at Exs. W-BB.) Ackerson and Willison only otherwise
   28    sold in response to the President’s statements. (Id. at Exs. CC-DD.)
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     1 price to drop and investors to lose money.” Lloyd, 811 F.3d at 1209 (citation omitted).
     2 Plaintiff must plead facts “tracing the loss back to ‘the very facts about which the
     3 defendant [allegedly] lied.’” Mineworkers’ Pension Scheme v. First Solar Inc., 881
     4 F.3d 750, 753 (9th Cir. 2018) (citation omitted). The alleged facts must show the
     5 market “learned of and reacted to th[e] fraud, as opposed to merely reacting to reports
     6 of the defendants’ poor financial health generally.” Metzler, 540 F.3d at 1062.
     7            The AC’s alleged corrective disclosures — the “Fuzzy Panda” report and the
     8 announcement by the USPS that Workhorse was not selected for the NGDV contract
     9 — are not valid for purposes of pleading loss causation. As lead plaintiff admits, the
   10 “Fuzzy Panda” blog post did not cause the alleged stock to drop, thus there was no
   11 market reaction to that news. In any event, the Ninth Circuit has held that anonymous
   12 blog posts by short-sellers cannot be corrective disclosures because the market is not
   13 presumed to rely upon their credibility. In re BofI Holding, Inc. Sec. Litig., 977 F.3d
   14 781, 1204 (9th Cir. 2020). The market’s reaction to the USPS’ announcement of its
   15 decision not to award the contract to Workhorse is a textbook case of the market
   16 reacting to external bad news affecting a company’s business, not a disclosure of “the
   17 truth” about a fraud within a company. See Dura, 544 U.S. at 342 (securities plaintiff
   18 must plead and prove that the alleged misrepresentation caused an economic loss
   19 “after the truth makes its way into the market”) (emphasis added).14
   20                                     V.    CONCLUSION
   21             For the foregoing reasons, the Court should grant defendants’ motion to dismiss
   22 and dismiss the AC in its entirety.
   23 Dated: September 3, 2021            SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
   24                                     By:                 /s/ John P. Stigi III
                                                              JOHN P. STIGI III
   25                                                      BRIDGET J. RUSSELL
                                                               GIAN A. RYAN
   26                                                      Attorneys for Defendants
   27   Lead plaintiff’s claim under Section 20(a) of the Exchange Act, 15 U.S.C. § 78t(a),
         14
      falls with his Section 10(b) claims. See In re NVIDIA Corp. Sec. Litig., 768 F.3d
   28 1046, 1052 (9th Cir. 2014).
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